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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )          4:08CR3178
                                             )
                    Plaintiff,               )
                                             )
      vs.                                    )
                                             )          ORDER
LATRAIL L. TAYLOR,                           )
                                             )
                    Defendant.               )


      IT IS ORDERED that:

      (1)    The plaintiff’s unopposed motion to continue sentencing (filing 205) is granted.

        (2)   Defendant Taylor’s 1.5 hour evidentiary hearing and sentencing are continued
to Friday, August 26, 2011, commencing at 10:30 a.m., before the undersigned United States
district judge, in Courtroom No. 1, United States Courthouse and Federal Building,
100 Centennial Mall North, Lincoln, Nebraska. The defendant shall be present unless
excused by the court.

      Dated July 11, 2011.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          United States District Judge
